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   16
                                      UNITED STATES DISTRICT COURT
   17
                                   CENTRAL DISTRICT OF CALIFORNIA
   18

   19     IN RE: NATIONAL FOOTBALL                        Case No. 2:15-ml-02668−PSG (SKx)
   20
          LEAGUE’S “SUNDAY TICKET”                        NFL DEFENDANTS’ MOTION IN
          ANTITRUST LITIGATION                            LIMINE NO. 2 TO EXCLUDE
   21     ______________________________                  REFERENCE TO PRIOR
                                                          LAWSUITS NOT INVOLVING
   22                                                     EITHER PARTY
          THIS DOCUMENT RELATES TO:
   23                                                     Judge: Hon. Philip S. Gutierrez
          ALL ACTIONS
   24
                                                          Date: February 7, 2024
                                                          Time: 2:30 p.m.
   25                                                     Courtroom: First Street Courthouse
   26                                                                350 West 1st Street
                                                                     Courtroom 6A
   27                                                                Los Angeles, CA 90012
   28
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    1          The Federal Rules do not permit parties to present evidence and argue to the
    2   jury about unrelated lawsuits because such cases are irrelevant; evidence and
    3   argument about them risks confusing the jury. Fed. R. Evid. 402, 403. Expert
    4   testimony about unrelated lawsuits is particularly inappropriate because offering
    5   improper legal opinions usurps the Court’s role of instructing the jury on the law. See
    6   Fed. R. Evid. 702. But that is exactly what Plaintiffs plan to do here: Plaintiffs and
    7   their experts intend to argue that they should prevail because of the legal outcomes
    8   in other cases involving other sports leagues.
    9           Plaintiffs’ papers and expert reports are replete with references, for example,
   10   to NCAA v. Board of Regents of University of Oklahoma, 468 U.S. 85 (1984), Garber
   11   v. Office of the Commissioner of Baseball, 2016 WL 749950 (S.D.N.Y. Jan. 22,
   12   2016), Laumann v. National Hockey League, 907 F. Supp. 2d 465 (S.D.N.Y. 2012),
   13   Madison Square Garden, L.P. v. National Hockey League, 2008 WL 4547518
   14   (S.D.N.Y. Oct. 10, 2008), and Chicago Professional Sports Ltd. Partnership v.
   15   National Basketball Association, 754 F. Supp. 1336 (N.D. Ill. 1991), aff’d, 961 F.2d
   16   667 (7th Cir. 1992) (collectively, “the non-NFL cases”). Most of these opinions come
   17   from Dr. Daniel Rascher, who is not a lawyer and is unqualified to offer them. And
   18   as to Plaintiffs’ experts who are lawyers—Mr. Len DeLuca and Mr. Einer Elhauge—
   19   it is inappropriate for them to instruct the jury on the ramifications of these cases.
   20   The Court should exclude from trial arguments to the jury and testimony based on
   21   these prior cases, as well as references to the non-NFL cases themselves.
   22   I.      Expert Testimony About The Facts And Holding Of NCAA Would Invade
   23
                The Provinces Of The Court And The Jury.

   24           Plaintiffs and their experts should not be permitted to argue that they should
   25   prevail in this case based on a purported analogy to the Supreme Court’s opinion in
   26   the NCAA case. To permit such testimony would violate the rules that (i) “an expert
   27   witness cannot give an opinion as to her legal conclusion, i.e., an opinion on an
   28   ultimate issue of law” and (ii) that “instructing the jury as to the applicable law is the
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    1   distinct and exclusive province of the court.” Nationwide Transp. Fin. v. Cass Info.
    2   Sys., Inc., 523 F.3d 1051, 1058 (9th Cir. 2008) (quoting Hangarter v. Provident Life
    3   & Accident Ins. Co., 373 F.3d 998, 1016 (9th Cir. 2004)).1
    4              The proposed testimony from Plaintiffs’ experts, Dr. Rascher, Mr. DeLuca,
    5   and Mr. Elhauge, regarding NCAA violates these principles.
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   10                                          E.g., ECF No. 962-4, Expert Report of Daniel A.
   11   Rascher, dated June 9, 2023 (“Rascher Rep.”) ¶¶ 157–59, 326–29; see also ECF No.
   12   962-30, Expert Rebuttal Report of Leonard DeLuca, dated June 8, 2023 (“DeLuca
   13   Rebuttal Rep.”) ¶¶ 4, 38 n.38, 49–53, 75, 82 n.97, 83 (similar); and ECF No. 962-29,
   14   Expert Rebuttal Report of Einer Elhauge, dated June 9, 2023 (“Elhauge Rebuttal
   15   Rep.”) ¶ 24 (similar).
   16              Dr. Rascher would then usurp the role of the jury by applying his
   17   understanding of the legal holdings of NCAA to the facts of this case. See ECF No.
   18   962-4, Rascher Rep. ¶¶ 326–29. In short, he asserts that
   19

   20                                                    , id. ¶¶ 29, 93 n.105, 159–61. This form of
   21
        1
   22     District courts in the Ninth Circuit routinely apply this rationale to bar expert testimony that risks
        invading the province of the jury or of the judge. See, e.g., Haas v. Travelex Ins. Servs. Inc., --- F.
   23   Supp. 3d ----, 2023 WL 4281248, at *4 (C.D. Cal. June 27, 2023) (excluding a legal opinion as
        invading the province of the judge). KB Home v. Ill. Union Ins. Co., 2023 WL 3432139, at *4 (C.D.
   24   Cal. Mar. 28, 2023) (same); SA Music LLC v. Apple, Inc., 592 F. Supp. 3d 869, 902 (N.D. Cal.
        2022) (same); Relevant Grp., LLC v. Nourmand, 2022 WL 18356631, at *2 (C.D. Cal. Dec. 9,
   25   2022) (same); Zeiger v. WellPet LLC, 526 F. Supp. 3d 652, 680 (N.D. Cal. 2021) (same); City of
        Phoenix v. First State Ins. Co., 2016 WL 4591906, at *18 (D. Ariz. Sept. 2, 2016), aff’d, 727 F.
   26   App’x 296 (9th Cir. 2018) (same); Century Indem. Co. v. The Marine Grp., LLC, 2015 WL
        5566351, at *2 (D. Or. Sept. 21, 2015) (same); Aerojet Rocketdyne, Inc. v. Glob. Aerospace, Inc.,
   27   2021 WL 1839695 at *3 (E.D. Cal. May 7, 2021) (excluding evidence that usurps the role of the
   28   jury); Morton & Bassett, LLC v. Organic Spices, Inc., 2017 WL 3838097, at *8 (N.D. Cal. Sept. 1,
        2017) (same).
                                                           2
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    1   argument—
    2                                          —is not permissible expert testimony under Rule 702;
    3   “[w]hether the parties’ evidence shows [a particular conclusion] is for [the judge] (at
    4   summary judgment) or the jury (at trial) as a factfinder,” not for an expert witness.
    5   SA Music LLC, 592 F. Supp. 3d at 902; Zeiger, 526 F. Supp. 3d at 679–80.
    6              Plaintiffs’ experts go even further, offering reports replete with inappropriate
    7   legal argument.
    8

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   10                                                                                                         These are
   11   quintessentially legal opinions, not economic analyses, as demonstrated by Dr.
   12   Rascher’s repeated citations to legal precedent and legal journals. See id. ¶¶ 182–84
   13   nn.268, 270–72 (legal precedent), ¶¶ 159–60 nn.229–35 (legal journal); see also ECF
   14   No. 962-5, Expert Reply Report of Daniel A. Rascher, dated June 9, 2023 (“Rascher
   15   Reply Rep.”) ¶¶ 396–400 (citing
   16                                                                    . And Dr. Rascher is not alone in
   17   seeking to make legal arguments based on discussions of prior antitrust cases. See,
   18   e.g., ECF No. 962-30, DeLuca Rebuttal Rep. ¶¶ 4, 38 n.38, 49–53, 75, 82 n.97, 83
   19   (                                                                                                                  );
   20   ECF No. 962-29, Elhauge Rebuttal Rep. ¶ 24 (
   21                                              ; see also Pastan Decl. Ex. 2, Expert Reply Report
   22   of J. Douglas Zona, dated June 9, 2023 (“Zona Rebuttal Rep.”) ¶ 13 n.32 (citing
   23   Laumann v. Nat’l Hockey League, 117 F. Supp. 3d 299, 315–16 (S.D.N.Y. 2015)).
   24              These portions of Plaintiffs’ expert reports, which “read[] like . . . legal
   25   brief[s],” should be excluded from evidence to ensure that only the Court explains
   26   the law to the jury. See Haas, 2023 WL 4281248, at *4; see also Nourmand, 2022
   27   WL 18356631, at *2. Any discussion of the NCAA case offered by Plaintiffs’ experts,
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    1   including references to the facts of NCAA and how they compare to the facts of this
    2   case, should be excluded from trial.
    3   II.     References To The Non-NFL Cases Would Be Irrelevant And Prejudicial.
    4           In addition to the impropriety of legal testimony by Plaintiffs’ experts, all
    5   references to the non-NFL cases should be excluded as irrelevant and prejudicial
    6   under Rules 402 and 403.
    7           The non-NFL cases are not relevant to this suit. Each addresses a different
    8   broadcasting arrangement, by a different entity, in a different market. The facts and
    9   outcomes of those cases say nothing about the competitive impact of the NFL’s
   10   broadcasting arrangements. Fed. R. Evid. 402; see also Twitter, Inc. v. Taamneh, 598
   11   U.S. 471, 507 (2023) (Jackson, J., concurring) (“Other cases presenting different
   12   allegations and different records may lead to different conclusions.”).
   13           Discussion of the non-NFL cases is also substantially more likely to lead the
   14   jury astray than it is to help them decide the facts of this case. See Fed. R. Evid. 403.
   15   The Ninth Circuit has repeatedly warned district courts that referencing a prior ruling
   16   or verdict in front of a jury creates “a substantial risk that the jury w[ill] import the
   17   whole verdict of liability from the prior proceeding.” Engquist v. Or. Dep’t of Agric.,
   18   478 F.3d 985, 1010 (9th Cir. 2007), aff’d, 553 U.S. 591 (2008). Accordingly,
   19   evidence relating to such past rulings is routinely excluded from trial. Id.; see also
   20   United States v. Sine, 493 F.3d 1021, 1034–35 (9th Cir. 2007) (excluding reference
   21   to a judge’s conclusion in a prior trial that a witness was not credible because a jury
   22   would give it undue weight).
   23           Plaintiffs’ references to the non-NFL cases pose an especially substantial risk
   24   that the jury will uncritically defer to past decisions rather than decide on the facts of
   25   this case alone. The decisionmaker in each of the non-NFL cases was a judge rather
   26   than a lay jury. Even where—as here—the products, facts, and arguments in a past
   27   case are different, juries are likely to rely on decisions made by an “authoritative,
   28   professional factfinder,” like the judges who decided the non-NFL cases, “rather than
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    1   determine those issues for themselves.” Sine, 493 F.3d at 1033 (noting this in the
    2   credibility context); Barten v. State Farm Mut. Auto. Ins. Co., 2015 WL 11111309,
    3   at *4 (D. Ariz. Apr. 8, 2015) (excluding a judge’s credibility determinations of an
    4   expert witness under Sine); Cardinal v. Buchnoff, 2010 WL 3339509, at *2 (S.D. Cal.
    5   Aug. 23, 2010) (excluding reference to a magistrate’s probable cause determination).
    6   And “the complicated and technical nature of th[is] trial” makes a jury even more
    7   likely to defer to legal authority—especially where that legal authority comes from
    8   the Supreme Court, as the opinion in NCAA does. Ormco Corp. v. Align Tech., Inc.,
    9   2009 WL 10668458, at *2 (C.D. Cal. May 12, 2009) (noting heightened risk of
   10   confusion in cases involving complex areas of the law).
   11           In addition, because the non-NFL cases are so far removed from the facts of
   12   this case, any attempt to permit a fair evaluation of how they compare to this suit “is
   13   likely to give rise to time-consuming tangents about the merits of those trials.” Grace
   14   v. Apple, Inc., 2020 WL 227404, at *3 (Koh, J.) (citation omitted); see also United
   15   States v. Kealoha, 2019 WL 2620004, at *6 (D. Haw. June 26, 2019) (excluding
   16   reference to a past civil trial between the parties to avoid delay where discussion of
   17   “the verdict would open up the door to further evidence about the [previous] trial”);
   18   Wrather v. Farnam Cos., Inc., 2003 WL 25667639, at *1 (C.D. Cal. Nov. 3, 2003)
   19   (similar).
   20           As one illustrative example, even though Garber involved a challenge to a
   21   sports league’s broadcast arrangements, any attempt to explain the differences
   22   between the legal and factual points at issue in that case would devolve into a “mini-
   23   trial.” The parties would need to explain, for example, that MLB does not ensure the
   24   free, over-the-air telecasts of local games, nor does it engage in the same forms of
   25   procompetitive revenue sharing as the NFL. See Laumann v. Nat’l Hockey League,
   26   56 F. Supp. 3d 280, 286–87 (S.D.N.Y. 2014). The need to clarify these distinctions
   27   is exacerbated by the fact that Garber settled after denials of motions for summary
   28   judgment and for certification of a damages class, both applying different burdens of
                                                    5
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    1   proof than the one a jury will need to apply in this case. The careful explanation of
    2   these—and many other—differences that would be needed for the jury to give proper
    3   weight to Garber and the other non-NFL cases would further distract the jury from
    4   the merits of this suit, confuse the jury, and waste the Court’s time.
    5           The non-NFL cases have no legitimate probative value here. They do,
    6   however, create substantial risk of prejudice to the NFL Defendants. The Court
    7   should exclude reference to them under Rules 402 and 403.
    8   January 5, 2024                         Respectfully submitted,
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         Case No. 2:15-ml-02668-PSG (SKx)   NFL Defendants’ Motion In Limine No. 2 To Exclude Reference To Prior
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